Case 2:13-bk-54832                Doc 81       Filed 06/29/16 Entered 06/29/16 07:52:39         Desc Main
                                               Document     Page 1 of 2

                                   UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF OHIO
                                           EASTERN DIVISION

 In     Re:       SHIRLEY LOUISE LOCKE                               Case   No: 13-54832


                                                                     CHAPTER     13



                  Debtor(s)                                   :      Judge CHARLES      M. CALDWELL

                                             AFFIDAVIT OF DEFAULT
            I,
        Frank      M.      Pees, standing Chapter 13 Trustee, being duly sworn do hereby state the
 following:
                 (l)    Debtor(s) has failed to make all the required Plan Payments since the date of the
                        Agreed Order. As a result, Debtor(s) is now more than 30 days delinquent in plan
                        funding. Debtor(s) has also failed to file a motion to modifu to cure the length.

                 (2) The Agreed Order entered March 13,2015 states:
                     "...Debtor(s) shall resume full and regular payments into the Plan. Debtor(s) shall
                     also cure the length problem in the Plan, if any, within sixty (60) days of the date
                     of this Order by frling such pleadings as may be necessary, e.g. a motion to
                     modify the Plan or objections to claims. If the Debtor(s) become more than thirty
                     (30) days in default on any subsequent Plan payment, or if the Debtor(s) fail to
                     conect the length problem within sixty (60) days, the Trustee shall be authorized
                     to submit to the Court an order or dismissal with an attached affidavit attesting to
                     the default under this Agreed Order. Upon submission of the Trustee's proposed
                     order of dismissal and affidavit of default, the Motion to Dismiss will be granted
                     instanter without further notice or hearing."

                        Further, affiant saith naught.

 STATE OF         OHrO                   )
 couNTY oF FRA¡IKLIN )                        SS:

                                               (Written Signature)               ft.,
                                          (Typed of written name) Frank M. Pees

 SWORN TO and subscribed in my presence                                                       èor\o
                                               (Written Signature
                                        (Typed of written name) Jill
                                                                Notary Public, State of Ohio
                                                                Commission Expires 09 I l4l20I9
                              JillR. FreY                       Recorded in Madison County, Ohio
                         Î{otyPúlh,  Sbþof Ohþ
                       My Carmissbn ExPies 9-14'2010



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                                         Document     Page 2 of 2

                               UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF OHIO
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 In   Re:      SHIRLEY LOUISE LOCKE                             Case   No: 13-54832


                                                                CHAPTER     13



               Debtor(s)                                        Judge CHARLES       M. CALDWELL

                               NOTICE AND CERTIFICATE OF SERVICE
      I hereby certifu tr,ut   o''-J1't-=-q-     èF\ì)ù6,         u copy   of the foregoing Affidavit of
 Default was served on the following registered ECF participants electronically through the
 court's ECF system at the email address registered with the court:


 U.S. Trustee
 Frank M. Pees
 W Mark Jump

 and on the following by       ordinary U.S. mail address to:

 Shirley Louise Locke
 1527 Bent Maple Drive
 Blacklick, OH 43004

                                                                /s/ Frank M. Pees
                                                                Frank M. Pees
                                                                Chapter 13 Trustee
